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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


      STATE OF MARYLAND, ET AL.,

                   Plaintiffs,
                                                               Case No.: 1:25-cv-
                       v.

    UNITED STATES DEPARTMENT OF
        AGRICULTURE, ET AL.,

                  Defendants.




                       DECLARATION OF KRISTINE CAMPAGNA

       I, Kristine Campagna, hereby declare as follows:

1. I am a resident of the State of Rhode Island and over the age of 18.

2. I am the Associate Director for Community and Health Equity (“CHE”) Division at the Rhode

   Island Department of Health (“RIDOH”) and have been held this position since January 2022.

3. I hold a Master’s Degree in Education and have been with RIDOH since 2009. I provide

   leadership, strategic vision, and policy direction to staff and programs in the Division of CHE.

   I work directly with the Director of RIDOH and other executive leadership staff to implement

   RIDOH’s mission to eliminate health disparities and achieve health equity for all Rhode

   Islanders.

4. The information in the statements set forth below was compiled through personal knowledge,

   and from RIDOH personnel who have assisted in gathering this information from our agency.

5. RIDOH’s mission is to protect public health, promote healthy communities, and continue to

   improve the quality of health care in Rhode Island. Among its many functions, RIDOH




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   dedicates substantial resources to preventing the spread of infectious diseases, developing

   comprehensive emergency preparedness plans to coordinate disaster response efforts, and

   implementing public health programs.

6. In conjunction with the mission of RIDOH, the Division of CHE strives to prevent diseases

   and protect and promote health and safety of the people of Rhode Island.

7. To support these critical goals, RIDOH and CHE have a long-standing history of securing

   federal civil service personnel detail from the Centers for Disease Control and Prevention

   (“CDC”) through its Public Health Associate Program for Recent Graduates (“PHAP”). PHAP

   is a competitive, two-year training program created by the CDC that places new college

   graduates (“Associates”) with tribal, local, and territorial public health agencies and

   nongovernmental organizations. Associates work alongside other public health professionals

   in a range of settings. Pursuant to the Public Health Service Act, 42 U.S.C. § 215, RIDOH

   enters into a two-year agreement with the CDC for each Associate detailed to RIDOH. CDC

   covers all the Associate’s costs, including their salary and benefits.

8. Since 2017, RIDOH has hosted numerous PHAP Associates in the areas of emergency

   preparedness, violence and injury prevention, and adolescent health. Their work has greatly

   contributed to the work of RIDOH.

9. Over the past two years, CDC detailed two (2) Associates at different RIDOH divisions to

   perform core public health functions.

10. One Associate was placed in RIDOH’s Violence and Injury Prevention Program (“VIPP”),

   which applied to become a host site for PHAP in February 2024. The VIPP Associate began

   his 2-year term placement with VIPP in October 2024.




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11. RIDOH’s VIPP planned to have the VIPP Associate contribute to cross-cutting initiatives

   focused primarily on prevention of Adverse Childhood Experiences (“ACEs”). There is no

   dedicated funding or focus in the current VIPP portfolio for this type of work, despite ACEs

   being a common risk factor of suicide and domestic violence.

12. The work undertaken by the VIPP Associate provides an opportunity to advance initiatives

   pertaining to violence prevention at multiple levels. As such, the VIPP Associate’s work is

   critical to the work undertaken throughout RIDOH. Notably, at the time of his termination, the

   VIPP Associate was working on a comprehensive landscape analysis on Adverse Childhood

   Experiences. This work, in turn, informs initiatives associated with Child Death Review

   recommendations to identify preventable circumstances to improve health and safety for all

   children.

13. The second PHAP Associate was placed in RIDOH’s Adolescent, School and Reproductive

   Health (“ASRH”) Programs, which has been a host site for the competitive PHAP since 2020.

14. In February 2023, ASRH Programs applied to serve as a host site for another PHAP Associate.

   In September 2023, RIDOH was notified that ASRH Programs were awarded as a host site and

   matched with a PHAP candidate based upon our application. The ASRH Programs Associate

   began her two-year term placement with the program in November 2023.

15. ASRH Programs have invested nearly fifteen months hiring, onboarding, training, and

   supporting the ASRH Programs Associate, to contribute to cross-cutting initiatives that

   advance health and well-being for school-age children and adolescents in Rhode Island.

16. Among other activities, the ASRH Programs Associate supported implementation of evidence-

   based youth programming, technical assistance for schools and community-based partners, and

   community outreach and engagement. The goal for this position was to help expand initiatives




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   for positive youth-development programming, support communities of youth-serving

   professionals, and develop collaborative community engagement and partnerships.

17. RIDOH invested significant time and resources to train these Associates—which typically

   takes four to six months to complete—to carry out the above-described work and integrate

   them into the state’s existing teams performing the same work.

18. On February 19, 2025, RIDOH learned that the two Associates had been terminated from their

   positions on February 15, 2025—before the expiration of their contractual two-year terms—

   and placed on immediate administrative leave. Adding to the confusion, on March 5, 2025,

   RIDOH informally learned that the two Associates have been notified that their positions will

   be reinstated. RIDOH has yet to receive confirmation of this change from the CDC.

19. Despite their reinstatement, the sudden loss of essential personnel, coupled with the lack of

   notice, caused RIDOH significant harm and disruption. RIDOH had invested significant time

   and resources into months-long training for the Associates, and the agency did not have the

   budgetary flexibility or hiring authority to replace them, particularly given the lack of any

   notice. The unexpected staffing shortages and imminent need to reallocate and train existing

   staff have already caused delays and administrative chaos, which impeded RIDOH’s ability to

   fulfill its mission of preventing disease and promoting public health in the state. The loss in

   workforce capacity during this time hampered RIDOH’s ability to fully respond to these public

   health threats.




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20. The lack of notice compounded the challenges created by the terminations. RIDOH was not

   able to plan for the terminations, resulting in administrative inefficiencies, duplicative work,

   and impeded critical work undertaken by RIDOH.




Dated: March 6, 2025                                Signed: /s/ Kristine Campagna *
                                                           Kristine Campagna
                                                           RIDOH Division Director

                                                    *A copy of the signature page bearing an
                                                    original signature is attached hereto.




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